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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

                    Plaintiff,

 v.                                                          Criminal No. 1:23-cr-10094-PBS

 AMY WINSLOW,
 MOHAMMAD HOSSEIN MALEKNIA and
 REBA DAOUST,

                    Defendants.


DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE EVIDENCE REGARDING AND
    REFERENCE TO THE THERANOS CASE OR THE FLINT WATER CRISIS

       Defendants Amy Winslow, Mohammad Hossein Maleknia, and Reba Daoust

(collectively, the “Defendants”) hereby move in limine to preclude the government from offering

any evidence regarding or making any reference or comparison to irrelevant, unrelated and

prejudicial high-profile blood testing or lead-related cases and events, namely, (1) the now

defunct company Theranos, its executives, Elizabeth Holmes and Ramesh Balwani, and their

prosecution; or (2) the 2016 water crisis in Flint, Michigan. As grounds therefore, Defendants

state (a) that any such reference is patently irrelevant to the claims and defenses in this case; and

(b) any potential probative value is substantially outweighed by the danger of unfair prejudice,

confusing the issues, misleading the jury, and wasting valuable trial time.

                                         BACKGROUND

       Immediately following the Indictment in this matter, media reports and blogs drew

comparisons between the government’s allegations against the Defendants and those made

against Theranos and its former Chief Executive Officer, Elizabeth Holmes, and Chief Operating

Officer (“COO”), Ramesh Balwani. In 2022, Holmes was convicted in the Northern District of
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California of fraud and conspiracy over false claims she made to investors concerning blood

testing devices manufactured by Theranos. United States v. Elizabeth Holmes, et al., Case No.

5:18-cr-258 (N.D. Cal.). So was COO Balwani. Id. The Theranos case received widespread

attention, including through its adoption into various pop culture mediums (including a podcast,

book, documentary, and television series). Theranos now stands as a cultural emblem of

corporate, medical device fraud. Immediately after the Indictment in this case, reporters began

explicitly linking the charges against these Defendants to Theranos. Indeed, one writer went so

far as to note that, “Elizabeth Holmes may not be a one-off” and “it sure sounds that, at the core,

Magellan was a lot like Theranos.”1 Another said that “many” have compared this case to the

fraud committed by Theranos.2

       Media has also inaccurately linked the Defendants to the Flint water crisis. The Flint

water crisis stemmed from Flint, Michigan’s decision to switch the source of its drinking water

supply, resulting in water quality issues, including increased lead concentrations in the water.

The only potential link between Magellan and the Flint water crisis that could potentially exist is

if LeadCare Devices were used to conduct venous lead testing in Flint. But the government’s

own documents indicate that there were fleetingly few such tests and there is no evidence that the

intermittent lead suppression issue impacted any such test. Moreover, the government has not

offered—and has, in fact, conceded it will not offer—any evidence that the lead suppression



1
 “Turns out Elizabeth Holmes May Not Be the Only One,” Pink Slip Blog (Apr. 19, 2023),
https://pinkslipblog.blogspot.com/2023/04/turns-out-elizabeth-holmes-may-not-be.html; see also
Amanda Pederson, “The Cost of Greed in Medtech,” Medical Device and Diagnostic Industry
Online (June 10, 2024), https://www.mddionline.com/qa-qc/stop-gambling-on-patient-safety.
2
 Marc Fortier, “CEO, Top Execs for Mass. Company Concealed Medical Device’s Innacurate
Lead Tests, Feds Say,” NBC 10 Boston (Apr. 6, 2023),
https://www.nbcboston.com/news/local/ceo-other-top-execs-for-mass-company-concealed-
medical-devices-inaccurately-low-lead-tests-feds-say/3014734/.


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issue in the LeadCare Devices caused any individual patient, let alone one associated with the

Flint water crisis, to suffer from any medical condition. See Dkt. No. 203, Jan. 23, 2025 Daubert

Hearing Tr. at 79:13–80:18 (government confirming that it does not intend to ask any doctor

about “causation” and will only ask them “what they did and when they did it”). Nevertheless,

news articles reporting on Magellan and the lead suppression issue with the LeadCare Devices

have associated the Company with Flint simply because the devices treat lead exposure and the

Flint water crisis is a recent, prominent, serious event involving lead exposure.3

       The Defendants anticipate that, following the lead of these publications, the government

will attempt to reference and offer evidence at trial regarding these emotionally-charged events

that are wholly irrelevant to the charges pending in this case. The government indicated to the

Defendants that it will seek to do so and its pre-trial disclosures support that conclusion. For

example, the government’s proffered Exhibit List includes six exhibits that pertain to Flint,

Michigan. Further, the government seeks to call Dr. Mona Hanna-Attisha, a self-proclaimed

“crusading pediatrician who brought the fight for justice in Flint to the national spotlight,” as a

non-expert witness who does not appear to have treated any patients whom the government

alleges were affected by the lead suppression at issue in this case.4

       For the reasons set forth below, the Defendants move to exclude any references to

Theranos, or Flint, Michigan at trial.




3
 Julie Applyby, “Thousands of Children Got Tested for Lead with Faulty Devices: What Parents
Should Know (June 27, 2024), https://kffhealthnews.org/news/article/children-lead-testing-doj-
settlement-faulty-devices/.
4
  https://monahannaattisha.com/ (last visited January 20, 2025). Dr. Hanna-Attisha’s proposed
testimony is also subject to a separate motion in limine being filed contemporaneously by the
Defendants to preclude the government from offering expert testimony through lay witnesses.

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         To the extent the government claims that evidence regarding the Flint water crisis is

relevant as “evidence regarding potential harm caused by the Malfunction” that goes to “the

materiality” of the alleged fraudulent statement made by the Defendants, that argument fails. See

Government’s Opposition to Defendants’ Motion to Exclude Expert Testimony of Dr. Adrienne

Ettinger and Dr. Courtney Lias, Dkt. No. 192 at *4–5. Without making the threshold showings

that affected LeadCare Devices were used or that any harm was caused, evidence related to the

Flint water crisis cannot constitute “evidence regarding potential harm.”

         With respect to Theranos, the government has offered no basis for its relevance. The

Theranos case involved different individuals, devices that are not at issue here and were not even

designed for the same purpose, and a completely unrelated set of facts. To date, the only basis

the government has articulated for offering evidence related to Theranos is that “the company”

(referring to Magellan) made reference to Theranos (the company, presumably) in some of its

own documents. The government has not explained whether the Defendants were involved in

those documents, what those documents related to, or how any reference to Theranos in the

documents could be relevant to this case. Indeed, the Government’s proposed Exhibit List,

which includes over 570 exhibits, does not include a single document relating to Theranos. Even

if it did, mere reference to another company that made medical devices involving blood testing,

in vague, unspecified documents from “the company,” falls far short of establishing that

evidence is relevant.

   II.      Any Reference to Flint or Theranos Should Be Excluded Under Fed. R. Evid. 403
            Because it is Unduly Prejudicial

         Even if evidence regarding Theranos or the Flint water crisis were relevant, that evidence

and any reference to either Theranos or the Flint water crisis should be excluded because the

prejudice substantially outweighs any probative value. Both the Theranos case and the Flint

water crisis have drawn significant media attention in the last decade. Moreover, both Theranos

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and the Flint water crisis provoke strong emotional reactions from those who hear about them,

whether they are familiar with the details or not. Therefore, any reference to either Theranos or

the Flint water crisis in this case is likely to elicit a strong reaction from jurors that is untethered

to the Defendants or the facts of this case. The government seeks to invoke Theranos and the

Flint water crisis for exactly this reason—to associate the Defendants and this case with larger

issues of wrongdoing and patient harm to appeal to jurors’ emotions, with the hope that it will

influence their perception of the Defendants and the Defendants’ conduct as they decide this

case. The risk of prejudice is high, and any reference to either Theranos or the Flint water crisis

should be excluded.

        The Rules instruct the Court to exclude even “relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403. “The term ‘unfair prejudice,’ as to a criminal

defendant, speaks to the capacity of some concededly relevant evidence to lure the factfinder into

declaring guilt on a ground different from proof specific to the offense charged.” Old Chief v.

United States, 519 U.S. 172, 180 (1997) (noting that the Advisory Committee Notes define

unfair prejudice to include “an undue tendency to suggest decision on an improper basis,

commonly, though not necessarily, an emotional one”).

        Despite having different underlying facts, the Theranos case and the Flint water crisis

share several characteristics that increase the risk of prejudice here. Both events received

widespread media coverage, to the extent that they invaded the popular consciousness.

Moreover, both Theranos and the Flint water crisis involve facts that have the tendency to

inflame a jury. The events that transpired at Theranos have been widely publicized as an

example of serious and pervasive fraud in the medical device industry. The case involves two


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convicted company executives who are each serving more than a decade in prison. The Flint

water crisis is widely understood to be a mass health crisis involving lead exposure that

negatively affected an entire community of largely low income households. Linking the current

matter to either of these well-known and emotional events creates the serious risk that the jury

would convict the Defendants, not based on guilt, but rather on an “emotional” or otherwise

“improper basis,” which Rule 403 squarely bars. See Advisory Committee Notes on Fed. R.

Evid. 403; United States v. Varoudakis, 233 F.3d 113, 122 (1st Cir. 2000). This danger of unfair

prejudice substantially outweighs any probative value possibly presented by entirely unrelated

events, which, as set forth above, is minimal at best.

        Finally, the government should be precluded from referencing these events because it

would confuse the issues, mislead the jury, and waste valuable time. This trial is already

expected to last at least thirty (30) full days that will span Easter and Passover holidays, as well

as a school vacation period. There is no time for an irrelevant side-show, which would serve

only to drag out the trial and waste limited judicial resources. See United States v. Gilbert, 229

F.3d 15, 23 (1st Cir. 2000). In short, the government has no legitimate reason to reference these

events that would squarely compromise the Defendants’ right to a fair trial.

                                          CONCLUSION

        For the foregoing reasons, the Defendants respectfully request that this Court issue an

order barring the government from introducing evidence (including the exhibits and witnesses

identified herein) at trial regarding, referencing, suggesting, or otherwise comparing the

underlying events in this case to Theranos, the trials of Elizabeth Holmes and Ramesh Balwani,

or the Flint water crisis.




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January 30, 2025                    Respectfully submitted,

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                      LOCAL RULE 7.1 AND 112.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2) and 112.1, I hereby certify that counsel for the

Defendants conferred in good faith with counsel for the government regarding the relief

requested in this motion. The government opposes the motion.

                                             /s/ Tara A. Singh




                              CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document filed through the ECF system will

be sent electronically by the ECF system to the registered participants as identified on the Notice

of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on January 30, 2025.


                                             /s/ Tara A. Singh




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